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 5
 6    ATTORNEY FOR Defendant,
      JUAN ALBERTO GOMEZ
 7
 8                                 UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10                                               ******
11    UNITED STATES OF AMERICA,                          Case No.: 1:15-CR-00207-2 DAD
12                   Plaintiff,
13           v.                                          STIPULATION AND ORDER TO
                                                         CONTINUE SENTENCING
14
15    JUAN ALBERTO GOMEZ,                                Date: July 30, 2018
16                                                       Time: 10:00 a.m.
                     Defendant.
                                                         Courtroom: 5
17
18    TO:    THE HONORABLE COURT AND TO THE UNITED STATES ATTORNEY:
19           Defendant, JUAN ALBERTO GOMEZ by and through his attorney of record, Anthony
20    P. Capozzi and the United States Attorney by and through Kimberly Sanchez, hereby stipulate
21    as follows:
22           1.      By previous order, this matter was set for sentencing on July 30, 2018, at 10:00
23    a.m.
24           2.      The parties agree and stipulate that Defendant requests this court to continue the
25    sentencing until August 20, 2018, at 10:00 a.m.
26           3.      The parties agree and stipulate, and request that the Court find the following:
27                   a.      The Defendant pled guilty on April 30, 2018.
28                   b.      Due to program restrictions at the Fresno Rescue Mission defense
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             counsel has not been able to speak with or meet with the Defendant to review the
 1           Presentence Investigation Report. Additional time is needed to arrange a meeting with
 2           the Defendant.
 3                  c.        Defense counsel has undergone a minor surgery on July 18, 2018, and
 4           needs a few days to recover.
 5                  d.        The Government does not object to the continuance.
 6
 7    IT IS SO STIPULATED.
 8                                               Respectfully submitted,
 9     DATED:            July 18, 2018      By: /s/Anthony P. Capozzi
                                                ANTHONY P. CAPOZZI
10                                              Attorney for Defendant JUAN ALBERTO GOMEZ
11
12
13     DATED:            July 18, 2018      By: /s/Kimberly A. Sanchez
                                                KIMBERLY A. SANCHEZ
14
                                                Assistant United States Attorney
15
16
                                            ORDER
17
18           The court has reviewed and considered the stipulation of the parties to continue the
19    sentencing in this case. Good cause appearing, the sentencing hearing as to the above-named
20    defendant currently scheduled for July 30, 2018, is continued until August 20, 2018, at 10:00
21    a.m. in courtroom 5 before District Judge Dale A. Drozd.
22
      IT IS SO ORDERED.
23
24       Dated:    July 19, 2018
                                                        UNITED STATES DISTRICT JUDGE
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